               Case 2:16-cv-01655-RAJ Document 52 Filed 07/12/17 Page 1 of 2



 1

 2

 3

 4

 5

 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8    KYLE LYDELL CANTY,

 9                                   Plaintiff,             Case No. C16-1655-RAJ-JPD

10           v.
                                                            ORDER DIRECTING RESPONSE TO
11    CITY OF SEATTLE, et al.,                              MOTION FOR INJUNCTIVE RELIEF

12                                   Defendants.

13

14          This is a civil rights action proceeding under 42 U.S.C. § 1983. This matter comes before

15   the Court at the present time on plaintiff’s motion for a temporary restraining order. (Dkt. 49.)

16   Plaintiff requests in his motion that he be granted a temporary restraining order against all

17   defendants named in his amended complaint, and all City of Seattle police officers, to preclude

18   those individuals and entities from engaging in the type of misconduct alleged in plaintiff’s

19   amended complaint for a period of five years from the date on which his motion was filed. The

20   City of Seattle defendants have filed a notice of their intent to oppose plaintiff’s motion. (Dkt.

21   51.) The Court, having reviewed plaintiff’s motion, and the balance of the record, finds and

22   ORDERS as follows:

23
     ORDER DIRECTING RESPONSE TO
     MOTION FOR INJUNCTIVE RELIEF - 1
                 Case 2:16-cv-01655-RAJ Document 52 Filed 07/12/17 Page 2 of 2



 1           (1)     Plaintiff has not demonstrated, as is required by Rule 65(b) of the Federal Rules

 2   of Civil Procedure, that he will suffer immediate and irreparable injury, loss, or damage before

 3   defendants can be heard in opposition. The Court therefore construes plaintiff’s motion as one

 4   for preliminary injunction rather than as one for temporary restraining order and directs

 5   defendants to file a response to the motion no later than July 31, 2017.

 6           (2)     Plaintiff may file a reply brief in support of his motion not later than August 4,

 7   2017.

 8           (3)     Plaintiff’s motion for preliminary injunctive relief (Dkt. 49) is NOTED on the

 9   Court’s calendar for consideration on August 4, 2017.

10           (4)     The Clerk is directed to send copies of this Order to plaintiff, to counsel for the

11   City of Seattle defendants, to the King County Prosecutor’s Office, and to the Honorable Richard

12   A. Jones.

13           DATED this 12th day of July, 2017.

14

15
                                                    A
                                                    JAMES P. DONOHUE
16                                                  Chief United States Magistrate Judge

17

18

19

20

21

22

23
     ORDER DIRECTING RESPONSE TO
     MOTION FOR INJUNCTIVE RELIEF - 2
